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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND
                                       at Greenbelt
                               In re:   Case No.: 10−37371 − TJC        Chapter: 11

KH Funding Company
Debtor

                   NOTICE OF INCORRECT OR INSUFFICIENT ADDRESS



The Court was notified that mail sent to BDO Consulting, a Division of BDO USA, LLP was undeliverable and
returned by the U.S. Postal Service due to an incorrect or insufficient address.

Pursuant to Local Bankruptcy Rule 4002−1(a), every debtor must maintain a current address with the Clerk. This
obligation continues until the case is closed.

Pursuant to Local Bankruptcy Rule 9010−2(a), counsel and parties appearing without counsel must file and maintain
a current address and telephone number in every case in which such person appears. This obligation continues until
the case is closed.

Debtor/Creditor is advised that a notice of current address or address change for BDO Consulting, a Division of BDO
USA, LLP must be filed with the Court within fourteen days (14) of the date of this notice. Failure to correct the
address may result in further action by the Court.




Dated: 6/27/22
                                                          Mark A. Neal, Clerk of Court
                                                          by Deputy Clerk, Adrienne Fernandez
                                                          Team Phone: 410−962−0794




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